            Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 1 of 19




                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF KANSAS


     VANESSA ISRAELSON, individually
                                                            CASE NO.:
     and all for others similarly situated
     735 S Westview Circle
     Andover, KS 67002,                                     JUDGE: ____________________

     and

     DONNA LEVAN, individually and for
     others similarly situated
     1200 Whippoorwill Lane                                 CLASS ACTION COMPLAINT
     Corbin, KY 40701,

                      Plaintiffs,

     -vs-

     INMATE CALLING SOLUTIONS,
     LLC (dba IC SOLUTIONS),
     c/o Cogency Global Inc.
     2101 SW 21st St.
     Topeka, KS 66604

                      Defendant.


            Plaintiffs Vanessa Israelson and Donna Levan on their own behalf and on behalf of all

other persons similarly situated, for their class action complaint against Defendant Inmate Calling

Solutions, LLC (hereafter “Defendant” or “IC Solutions”) state:

1.          Defendant IC Solutions is a foreign corporation in good standing licensed to provide

            telephone and related services for detention and other facilities, in Kansas and other states.

2.          Defendant is, or at a point in time relevant to this case was, licensed to do business in

            Kansas as a registered foreign corporation.

3.          Defendant maintains operations, equipment, and personnel in Kansas for the conduct of its

            usual and customary business, including providing telephone and related services.


                                                      1
      Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 2 of 19




                                           PARTIES

4.    Plaintiff Vanessa Israelson is a resident and citizen of the State of Kansas.

5.    Plaintiff Donna Levan is a resident and citizen of the State of Kentucky.

6.    Defendant is a foreign corporation headquartered in Texas. Defendant is a citizen of Texas.

      It may be served with process by serving its registered agent, Cogency Global Inc., 2101

      SW 21st St., Topeka, KS 66604.

                               JURISDICTION AND VENUE

7.    Subject matter jurisdiction is proper in this Court pursuant to 28 U.S.C. §1332(d)(2),

      known as the Class Action Fairness Act of 2005 (“CAFA”). There are more than 100

      members in the proposed class, at least one member of the proposed class has state

      citizenship that is different than Defendant, and the matter in controversy exceeds

      $5,000,000, exclusive of interest and costs.

8.    This Court has personal jurisdiction over Defendant as Defendant has sufficient minimum

      contacts with the state of Kansas, is authorized to do business in Kansas, and has availed

      itself of the privilege of conducting business in the State of Kansas.

9.    Venue is proper in this forum pursuant to 28 U.S.C. §1391(b) because Defendant has its

      agent for service of process in this District, for conducting business in this state, including

      the conduct alleged in this complaint. Venue is also proper pursuant to 28 U.S.C. §1391(c)

      because Defendant is a corporation deemed to reside in this District, with the conduct

      giving rise to this complaint having occurred in this District.

                               THE WRONGFUL CONDUCT

10.   This case involves systematic and fraudulent charging of a falsely stated amount of “tax”

      to the named plaintiffs and the putative class members.



                                                2
       Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 3 of 19




11.     Defendant intentionally and fraudulently made affirmative misrepresentations to its

        customers to conceal its unlawful conduct and avoid lawsuits of this nature.

12.     Defendant lies to its customers in itemizing charges to include a stated amount of “tax,”

        knowing the amount collected and affirmatively represented as a “tax” was higher than the

        authorized tax rate.

13.     This type of practice—whether its charging customers for inflated fees like “tax”; “up-

        charging” customers more than the amount actually paid to third parties; or

        “manufacturing” amounts that do not exist (often called “junk fees”)—is a billion-dollar

        scam on American consumers.

14.     The United States Federal Trade Commission reports that, “American consumers, workers,

        and small businesses today are swamped with junk fees that frustrate consumers, erode

        trust, impair comparison shopping, and facilitate inflation.” The Federal Trade

        Commission uses the term “junk fees” to refer to “unfair or deceptive fees that are charged

        for goods or services that have little or no added value to the consumer, including goods or

        services that consumers would reasonably assume to be included within the overall

        advertised price; the term also encompasses ‘hidden fees,’ which are fees for goods or

        services that are deceptive or unfair, including because they are disclosed only at a later

        stage in the consumer’s purchasing process or not at all, whether or not the fees are

        described as corresponding to goods or services that have independent value to the

        consumer.” 1




1
 Federal Trade Commission, 16 CFR Part 464, Unfair or Deceptive Fees Trade Regulation Rule, Commission
Matter No. R207011 (last viewed January 4, 2024);
https://www.ftc.gov/system/files/ftc_gov/pdf/R207011UnfairDeceptiveFeesANPR.pdf

                                                     3
       Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 4 of 19




15.     These unlawful practices victimize Americans daily, preying on the innocence of the

        consumer along with the complicated nature of financial transactions. In most cases,

        including the present scam, the victim has no way to know if a particular item (out of many

        on a bill) is unlawful, inflated, or simple bogus.

16.     This practice by merchants is solely to make money by cheating customers. According to

        the Consumer Financial Protection Bureau, this fraud of charging consumers “junk fees”

        is found in charges that “inflate prices,” charges that “increase costs” of products and

        services, and, as here, “mystery fees on phone and cable bills. *** Junk fees drain tens of

        billions of dollars per year from Americans’ budgets[.]” 2

17.     As a result, charging customers amounts the supplier knows are non-existent, inflated, or

        misrepresented is actionable fraud. In re First Alliance Mortg. Co., 298 B.R. 652, 668,

        (C.D. Cal. 2003) (finding mislabeled or hidden junk fees to be fraudulent); Watts v. Jackson

        Hewitt Tax Service Inc., 579 F. Supp. 2d 334, 335 (E.D.N.Y. 2008) (fraud sufficiently

        plead where defendants allegedly charged fees which, through non-disclosure of the basis

        for the amounts, prevented plaintiffs from discovering the fraud).

18.     With the specific intent to cheat customers, Defendant includes a stated amount labeled

        “tax” on its statement to the named plaintiffs and the members of the putative class.

19.     Telephone calls are subject to taxes levied at the location where the call originates (here,

        the prison), not where the call is received.

20.     Instead, for calls originating from Kansas prisons, for example, Plaintiff Vanessa Israelson

        was charged “tax” at the rate of approximately 20%, while named Plaintiff Donna Levan




2
 Consumer Financial Protection Bureau Blog (Feb. 2, 2022) (last vitied January 4, 2024);
https://www.consumerfinance.gov/about-us/blog/hidden-cost-junk-fees/

                                                        4
      Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 5 of 19




      was charged “tax” at double that amount, more than 40%. See, Exhibits 1 and 2, attached

      hereto and incorporated herein.

21.   Defendant lied to its customers both in the amount listed, and the label used.

22.   The term “tax” refers to a charge assessed by the government which the customer is

      obligated to pay. The U.S. Supreme Court has stated that a “tax is an enforced contribution

      to provide for the support of government.” U.S. v. Reorganized CF & I Fabricators of

      Utah, Inc., 518 U.S. 213, 224 (1996) (quoting United States v. La Franca, 282 U.S. 568,

      572 (1931)). That is, payment of an amount for “tax” is something a reasonable person

      would believe is not optional, must be paid, and the stated amount is the actual amount due

      for the tax.

23.   A reasonable person would understand and believe the amount listed for “tax” was the

      amount assessed by and paid to the government on the transaction; not a false rate, not an

      inflated amount, and not a “profit center” for Defendant.

24.   In fact, the charge here was exactly that: a false amount, an inflated amount, and a charge

      secretly and deceptively used as a profit center for Defendant.

25.   Defendant fraudulently misrepresented the stated amount as the amount of “tax,” with the

      intent to deceive its customers and prevent them from discovering Defendant’s

      overcharging.

26.   For example, if Defendant had labeled the stated amount, or any part of it, as “junk fee,”

      or “extra upcharge,” customers would have inquired, complained, or simply refused to pay

      it. By falsely labeling the stated amount as “tax,” Defendant intended and expected

      customers would not question, complain or refuse.




                                               5
          Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 6 of 19




27.        Defendant accomplished its goal of having customers give Defendant the money to pay the

           stated amount of ‘tax,’ when Defendant knew full well that the stated amount paid was not

           for ‘tax,’ and rather the payment had been accomplished by Defendant’s fraud.



           A.      Interference with the administration of justice and harm
                   to the public fisc and society.

28.        This misconduct not only harms and damages the named Plaintiffs and the putative class

           members, it interferes with the administration of justice, harms society, and defrauds the

           public fisc.

29.        A large portion of inmate calls are made by the inmates to retained or appointed Counsel

           for legal reasons dealing with pending criminal proceedings, appeals, parole, and other

           matters that are critical to the administration of justice.

30.        Defendant does not exclude those calls from its overcharging scheme.

31.        Legal counsel, including those appointed by the Court, and those serving the state and

           federal Public Defender’s office, must pay (the same as family members) for the ability to

           speak by phone with their clients who are incarcerated in facilities serviced by Defendant.

32.        Those attorneys and those agencies often rely on public funding for their budgets and their

           work representing the inmates, in a public system that is seriously underfunded. 3

33.        Adding to this crisis a further burden of fraudulent, padded charges by Defendant’s scheme

           harms the entire system, and harms the general public whose taxes are wasted paying those

           overcharges.

34.        There is not only private interest, but equally a compelling public policy, to stopping this

           misconduct and fraud by Defendant.


3
    https://www.usatoday.com/story/news/politics/2023/03/17/public-defenders-scotus-ruling/11479074002/?gnt-cfr=1

                                                         6
      Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 7 of 19




      B.       Plaintiff Israelson’s transaction.

35.   Plaintiff Israelson is the mother of an inmate whose telephone and related services for their

      detention facility are provided by Defendant.

36.   In order to have calls with her 19-year-old son in prison, Plaintiff Israelson was required

      to use the services of Defendant. Without phone access through Defendant, Plaintiff would

      not be able to have those meaningful contacts with her son.

37.   On August 1, 2023, and other times, Plaintiff Israelson deposited funds into her account to

      allow calls with her son in prison through Defendant’s system.

38.   Defendant issued statements to Plaintiff Israelson for the purchase of account credits for

      calls.

39.   They uniformly appear with the following format, listing a “Payment ID,” a “Date,” a

      “Status,” a “Reference Number,” an “Agency,” a “Phone [number],” an “Amount, Tax,

      Fee, and Total,” and a “Card Type and Card Number”:




                                               7
      Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 8 of 19




40.   Defendant drafted the wording and terms used, and the named Plaintiffs and members of

      the putative class had nothing to do with the choice of the wording and terms used.

41.   In each, Defendant represented that the user owed and had paid a stated amount for “tax”

      for making the call. Defendant also represents that $0.00 is paid in fees.

      C.     Plaintiff Levan’s transaction.

42.   Donna Levan is a family member of an inmate whose telephone and related services for

      their detention facility are provided by Defendant.

43.   In order to have calls with her family member in prison, Plaintiff Donna Levan was

      required to use the services of Defendant.

44.   On November 10, 2023, and other times, Plaintiff Levan added funds to her prepaid phone

                                               8
      Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 9 of 19




      account on Defendant’s system to allow calls with her family member in prison.

45.   Defendant issued statements to Plaintiff Levan for each of those fund deposits.

46.   They uniformly appear as follows, with the same categories of information as Israelson’s:




47.   In each, Defendant represented that the user owed and paid a stated amount for “tax” for

      making the call.

      D.     Putative Class Member transactions.

48.   The putative class members likewise all have friends, family members, or other

      connections in correctional facilities where telephone and related services are provided by

      Defendant.

49.   In order to have calls with those in prison, the putative class members used the services of

      Defendant.

50.   On various dates during the class period, the putative class members added funds to phone

      accounts through Defendant’s system.

51.   Defendant issued statements to the putative class members for each of those purchases.



                                               9
      Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 10 of 19




52.    They uniformly appear as follows, likewise with the same categories of information as

       Levan’s and Israelson’s:




53.    In each, Defendant represented that the user owed and paid a stated amount for “tax” for

       making the call.

54.    The named Plaintiffs and the putative class members paid Defendant the bogus amount of

       “tax.”

55.    As a direct and proximate result, the named Plaintiffs and the putative class members

       suffered concrete harm, loss, and damage in an amount greater than $5 million dollars,

       exclusive of interest and costs.

                                       COUNT I
                                  BREACH OF CONTRACT

56.    Plaintiffs restate and incorporate by reference all preceding allegations.

57.    The named Plaintiffs entered a contract with Defendant, whereby Defendant would

       provide, and the named Plaintiffs would pay for, a prepaid collect account to fund calls

                                                10
      Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 11 of 19




       placed by an inmate described above.

58.    The rates for the calls are party of the contract, and are specifically defined on Defendant’s

       website at the rate calculator at https://icsonline.icsolutions.com/rates

59.    The rate calculator provides a stated rate based on input from the user in four fields: 1)

       phone number; 2) agency name; 3) facility name; and 4) minutes of the phone call.

60.    Upon entering the required data, the rate calculator then provides the final cost of the call,

       followed by the term “plus any applicable taxes and fees.”

61.    By this contractual undertaking, the parties agreed to the rate for the services provided. The

       parties also agreed for the payment of applicable taxes and fees.

62.    The named Plaintiffs do not have a copy of the contract, but Defendant does.

63.    By charging the Named Plaintiffs the amount set forth on the line listed as “tax,” Defendant

       charged Plaintiffs and the putative class members more than the rate agreed for the services

       rendered and/or more than applicable taxes, and thereby breached its obligations to

       Plaintiffs and the putative class members under that contract.

64.    Specifically, Defendant charged and collected an amount which was not due from the

       named Plaintiffs under that contract, to wit, the stated amount of the charge for “tax.”

65.    Defendant did the same to the putative class members, and thereby breached its obligations

       to the putative class members under that contract.

66.    Plaintiffs and all putative class members satisfied or discharged all conditions precedent to

       Defendant’s obligations under the contract, or same were waived.

67.    As a direct and proximate result of Defendant’s breach of its obligations, Plaintiffs and the

       class members have been injured, harmed, and damaged in amounts to be established at

       trial, plus interest and costs.

                                                 11
      Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 12 of 19




68.    As a direct and proximate result, the named Plaintiffs and the putative class members

       suffered concrete harm, loss, and damage in an amount greater than $5 million dollars,

       exclusive of interest and costs.

                                         COUNT II
                                    UNJUST ENRICHMENT

69.    Plaintiffs restate and incorporate by reference all preceding allegations.

70.    This count is pled in the alternative to Count I, as permitted by Fed. R. Civ. P. 8.

71.    Plaintiffs conferred a benefit on Defendant by paying the amount listed as “tax.”

72.    Defendant is aware that Plaintiffs conferred that benefit.

73.    Defendant has retained that benefit, and has not returned to Plaintiffs the bogus amount of

       “tax” that Plaintiff paid.

74.    Defendant misrepresented the stated amount collected as being “tax” when the amount was

       false.

75.    It would be unjust for Defendant to retain the benefit it received from Plaintiffs, and the

       balance of the equities favor Plaintiff.

76.    Plaintiffs are entitled to restitution and/or disgorgement in the bogus amount of the

       collected “tax.”

77.    Defendant engaged in the same conduct with respect to the putative class members.

78.    The putative class members likewise conferred this benefit on Defendant under similar

       circumstances, it would be unjust for Defendant to retain the benefit, and the putative class

       members are similarly entitled to restitution and/or disgorgement of the bogus amount of

       the collected “tax.”




                                                  12
      Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 13 of 19




                                  COUNT III
                   FRAUD BY PRESENT INTENT NOT TO PERFORM

79.    Plaintiffs restate and incorporate by reference all preceding allegations.

80.    When Defendant entered into its agreements with Plaintiffs and the Class Members to

       provide them telephone or related services, and to collect a stated rate and “applicable

       taxes” for same, Defendant had the present intent not to perform that obligation.

81.    Defendant presently intended to improperly, and in non-performance and breach of the

       contract, increase the amount it collected, by calling it “tax,” knowing that the amount it

       was collecting was not for “tax.”

82.    As a direct and proximate result of the foregoing, Plaintiffs and the Class Members were

       damaged and harmed in the amount of the increase in their payment to Defendant by the

       improper amount of the “tax;” and also, by all costs and expenses incurred by them;

       attorney fees; and they are entitled to recover such monies, costs, attorney fees, and

       compensatory and punitive damages from the Defendant in an amount determined at trial.

                                    COUNT IV
                        FRAUD AND FRAUDULENT/NEGLIGENT
                         MISREPRESENTATION AND OMISSION

83.    Plaintiffs restate and incorporate by reference all preceding allegations.

84.    Defendant issued statements to Plaintiffs and the Class Members which included a stated

       amount labeled “tax.”

85.    The term “tax” means, to reasonable customers, an amount charged by the government

       which the customer is obligated by law to pay on the transaction.

86.    It was material for Defendant to identify all known limitations, conditions and restrictions

       to its intentional act of charging for “tax,” so as to make the term honest and not misleading.

87.    It was especially material and required, for the term “tax” to be truthful, for Defendant to
                                                 13
      Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 14 of 19




       inform customers of any facts to indicate that the stated amount listed as “tax” was not the

       correct amount for tax.

88.    Instead of doing so, Defendant took the opposite approach.

89.    Defendant did not identify the stated amount it listed as “tax” as, in truth, including an

       amount going to Defendant for its own benefit, not to any government agency, although it

       could have done so.

90.    Defendant knew, intended to, and would regularly, keep money that it had falsely

       represented was collected as being “tax”.

91.    Defendant purposely did not disclose this, and misstated it.

92.    By the foregoing, Defendant’s representations to the named Plaintiffs and the putative class

       members were false.

93.    Defendant knew, or in the exercise of reasonable diligence should have known, of the

       materiality, the falsity, and the misleading nature of this misrepresentation and this

       conduct, and was either purposeful, reckless, or negligent in that regard.

94.    Defendant did the foregoing with the intent of misleading the Plaintiffs and the class into

       reliance, into accepting Defendant charging and taking from Plaintiffs’ account, and the

       accounts of the class members, the stated amount listed as “tax.”

95.    Plaintiffs and the Class Members were justified in relying thereon, and not expecting

       Defendant would engage in conduct designed to collect a falsely labeled and improper

       stated amount.

96.    As a direct and proximate result of the Defendant’s actions, Defendant defrauded and

       proximately caused damage to Plaintiffs and the Class Members.

97.    As a direct and proximate result of Defendant’s actions, Plaintiffs and the Class Members

                                                14
       Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 15 of 19




        have suffered and incurred, and continue to suffer and incur, damages, including the

        amount of the bogus “tax” charge, deprivation of the use of that money, and other money

        lost, attorney fees, interest and costs.

                                      CLASS ALLEGATIONS

        A.      Class Definition.

98.     Plaintiffs seek to represent a class defined as follows:

        All persons (hereafter “user”) who: 1) paid Defendant for telephone or related services: 2)
        where Defendant charged the user “tax” in an amount more than the tax actually authorized
        by and paid to a government entity. The class period for the proposed class is the maximum
        time period as allowed by applicable law.

             a. Excluded from the Class are: (1) Defendant and its affiliates, officers or directors;
                (2) members of the judiciary and their staff to whom this action is assigned; and (3)
                Plaintiffs’ counsel.

             b. Plaintiffs reserve the right to modify the definition of the Class pursuant to facts
                learned through further investigation and discovery.

        B.      Class Certification under Fed. Rule 23(a) and (b)(3).

99.     This class numbers in the thousands of persons and is so large that joinder of all members

        is impracticable, and it is further impracticable to bring all such persons before this Court.

100.    The exact number and identities of the members of the class are unknown at this time and

        can only be ascertained through discovery. Identification of the class members is a matter

        capable of ministerial determination from Defendant’s records or other accessible sources.

101.    The relatively small amounts of damage suffered by each class member make filing

        separate suits by each class member economically unfeasible.

102.    Plaintiffs are similarly situated to the members of the class, have no conflict with the class,

        and will fairly and adequately represent all members of the class.

103.    Plaintiffs have no relationship with Defendant other than as an adverse party in this case.


                                                   15
       Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 16 of 19




104.    Plaintiffs’ claims are typical of the class claims.

105.    The claims, defenses, and injuries of the representative Plaintiffs are typical of the claims,

        defenses and injuries of the entire class, and the claims, defenses and injuries of each class

        member are typical of those of the entire class.

106.    Common questions of law and fact apply to Plaintiffs’ claims and the claims of the class,

        and those common questions predominate over individualized questions.

107.    These common questions that are amenable to class wide resolution include:

           a. Whether Defendant entered into a contract with Plaintiffs and the putative class to
              provide telephone or related services;

           b. Whether Defendant’s conduct breached that contract;

           c. Whether Defendant was unjustly enriched by the amount it collected for “tax” from
              Plaintiffs and the putative class members;

           d. Whether Defendant has a custom and practice of overcharging “tax” to its
              customers;

           e. Whether Defendant made fraudulent misrepresentations to the class members about
              the stated amount of “tax” listed on its statements;

           f. Whether Defendant engaged in a course of conduct designed to misrepresent or
              fraudulently conceal inflation of the “tax” to Plaintiffs and the putative class;

           g. Whether Defendant committed fraud against the Plaintiffs and putative class
              members, either by commission, omission, or both; and,

           h. Whether Plaintiffs and the putative class have suffered damage because of
              Defendant’s conduct.

108.    Proposed counsel for the putative class, Patrick J. Perotti and Patrick J. Brickman of

        Dworken & Bernstein, Co., LPA; Ruth Anne French-Hodson of Sharp Law; and Michael

        Wyatt of Mann Wyatt and Tanksley are knowledgeable and experienced in class, consumer

        fraud, and/or customer overcharge litigation and will fairly and adequately represent the

        interests of the proposed class as class counsel.

                                                  16
       Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 17 of 19




109.    The questions of law and fact common to members of the proposed class predominate over

        any individual questions of law or fact affecting any member of the class, and a class action

        is superior to other available methods for the fair and efficient resolution of this

        controversy.

110.    The prosecution of separate actions by each class member would create a substantial risk

        of inconsistent or varying adjudications with regard to individual class members that would

        establish incompatible standards of conduct for Defendant.

111.    The prosecution of separate actions would also create a substantial risk of adjudication with

        respect to individual class members which, as a practical matter, would be dispositive of

        the interest of other members not parties to the adjudication, thereby substantially

        impairing and impeding their ability to protect these interests.

112.    Further, the maintenance of this suit as a class action is the superior means of disposing of

        the common questions which predominate herein.

113.    A class action is superior to all other available methods for the fair and efficient

        adjudication of this lawsuit, because individual litigation of the claims of all members of

        the Class is economically unfeasible and procedurally impracticable. While the aggregate

        damages sustained by the Class are in the millions of dollars, the individual damages

        incurred by each member of the Class resulting from Defendant’s wrongful conduct are

        too small to warrant the expense of individual lawsuits. The likelihood of individual Class

        members prosecuting their own separate claims is remote, and, even if every member of

        the Class could afford individual litigation, the court system would be unduly burdened by

        individual litigation of such cases.

114.    No unusual difficulties are anticipated in the management of this case as a class action.


                                                 17
      Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 18 of 19




                                 DEMAND FOR JUDGMENT

       Plaintiffs individually, and on behalf of each member of the proposed class, request that

the Court grant the following relief:

           a. Enter an order, pursuant to Rule 23 of the Federal Rules of Civil Procedure,
              certifying this action as a class action for the class defined above;

           b. Enter an order appointing the below-listed counsel as counsel for the class, and
              appointing Plaintiffs as the representative Plaintiffs for the class;

           c. Enter judgment in favor of plaintiffs and the class for their damages, and interest as
              provided by law; for punitive damages; and for costs;

           d. Award plaintiffs and the class disgorgement and/or restitution;

           e. Award plaintiffs and the class all expenses of this action, and require Defendant to
              pay costs and expenses of class notice and claims administration; and

           f. Award such other or further relief in law or equity in favor of plaintiffs and the
              class and against Defendant as the Court finds just and appropriate.

                                                     Respectively Submitted,

                                                     /s/ Ruth Anne French-Hodson_____
                                                     Ruth Anne French-Hodson (Kansas Bar No.
                                                     28492)
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                                                     Patrick J. Perotti, Esq. (Ohio Bar No.
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                                                18
     Case 2:24-cv-02027-HLT-BGS Document 1 Filed 01/19/24 Page 19 of 19




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                                          Counsel for Plaintiffs and the putative class


Dated: January 19, 2024




                                     19
